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                 EXHIBIT B
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Krishnan, Meenakshi

From:                          CopyCerts <copycerts@copyright.gov>
Sent:                          Friday, January 27, 2023 10:38 AM
To:                            Shapiro, Marni
Cc:                            CopyCerts
Subject:                       RE: EXPEDITED REQUEST --"SASHA SAYS" -- PAu2594108


[EXTERNAL]

Good morning, Marni.

Thank you for your email. Unfortunately I’m not certain of the retention process with regards to assignment of
location. However resources used in determining location confirm that a location can’t be determined and
therefore I’m unable to fulfill the request for deposit copies.

I apologize for the inconvenience this may cause.


DeNina Scott
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Office of Copyright Records
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